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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 VICTORIA GRACE,                                                                  CIVIL ACTION
     Plaintiff

 VERSUS                                                                           NO. 19-55

 PROGRESSIVE CASUALTY                                                             SECTION: “E”(5)
 INSURANCE COMPANY, ET AL.
     Defendants


                                      ORDER AND REASONS

          Before the Court is Plaintiff Victoria Grace’s motion to remand this case to state

court. 1 Defendant Michael Portuondo opposes the motion. 2 For the reasons that follow,

the motion is DENIED.

                                            BACKGROUND

          According to the state court petition, on September 12, 2017, Plaintiff was riding a

bicycle when Defendant Portuondo opened the door of his vehicle, striking her and

causing her to fall of her bicycle. 3 She alleges she sustained injuries to her head, legs,

upper extremities, and spine. 4

          According to the instant motion, on August 8, 2018, counsel for Plaintiff sent

Defendant Progressive Casualty Insurance Company (“Progressive”) a letter offering to

settle Plaintiff’s claims for $100,000, the limits of Portuondo’s insurance policy. 5

Progressive rejected the settlement demand. 6 In his opposition to the instant motion,




1 R. Doc. 7.
2 R. Doc. 8.
3 R. Doc. 1-2 at 2, ¶ 6.
4 Id. at ¶ 7.
5 R. Doc. 7-2 at 3. The letter is dated August 9, 2018. R. Doc. 6-3.
6 Id.



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Portuondo admits he was aware of the settlement demand and of Plaintiff’s medical

expenses prior to commencement of the instant suit. 7

         On September 6, 2018, Plaintiff filed a petition in the Civil District Court for the

Parish of Orleans against Portuondo; Progressive, which was Portuondo’s insurer; and

Government Employees Insurance Company (“GEICO”), which was Plaintiff’s insurer. 8

Portuondo was served on September 14, 2018. 9 Plaintiff and Portuondo agree Progressive

was served on September 17, 2018. 10 Plaintiff represents GEICO was served on September

14, 2018, 11 and Portuondo represents GEICO was served on September 17, 2018. 12 This

inconsistency is not material to the instant motion.

         On November 30, 2018, Portuondo served on Plaintiff a request that she admit her

total damages did not exceed $75,000. 13 On December 6, 2018, Plaintiff denied the

request. 14

         On January 4, 2019, Defendant Michael Portuondo removed the case to this

Court. 15 On January 14, 2019, Plaintiff filed the instant motion, arguing that the Notice of

Removal was untimely because it was filed more than 30 days after the filing of her state

court petition. 16 Defendant opposes, arguing his petition was timely because he was first

put on notice the amount-in-controversy exceeded $75,000 by Plaintiff’s denial of his



7 R. Doc. 8 at 2.
8 R. Doc. 1-2 at 1.
9 R. Doc. 1-15, R. Doc. 1-18 at 10.
10 R. Doc. 1 at 3, ¶ 6; R. Doc. 7-2 at 3–4.
11 R. Doc. 7-2 at 3.
12 R. Doc. 1 at 2, ¶ 4.
13 R. Doc. 1-6. Plaintiff represents in the instant motion that the request for admission was propounded on

November 19, 2018, R. Doc. 7-2, but the request for admission is dated November 30, 2018, R. Doc. 1-6,
and Portuondo agrees he propounded the request on November 30, 2018, R. Doc. 1 at 5, ¶ 15. This
inconsistency is not material to this order.
14 R. Doc. 1-6.
15 R. Doc. 1.
16 R. Doc. 7.



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request for admission on December 6, 2018, less than 30 days before he filed the Notice

of Removal. 17

                                        LEGAL STANDARD

         Federal courts are courts of limited jurisdiction and possess only the authority

conferred upon them by the United States Constitution or by Congress. 18 Federal law

allows for state civil suits to be removed to federal courts in certain instances. Generally,

removal jurisdiction is governed by 28 U.S.C. § 1441(a), which provides:

         Except as otherwise expressly provided by [an] Act of Congress, any civil
         action brought in a State court of which the district courts of the United
         States have original jurisdiction, may be removed by the defendant or the
         defendants, to the district court of the United States for the district and
         division embracing the place where such action is pending. 19

“The removing party bears the burden of showing that federal jurisdiction exists and that

removal was proper.” 20

         28 U.S.C. § 1446 governs the procedure for removal. It provides the following time

limits for filing notices of removal:

         The notice of removal of a civil action or proceeding shall be filed within 30
         days after the receipt by the defendant, through service or otherwise, of a
         copy of the initial pleading setting forth the claim for relief upon which such
         action or proceeding is based
                                                 ...
         If the case stated by the initial pleading is not removable, a notice of removal
         may be filed within 30 days after receipt by the defendant, through service
         or otherwise, of a copy of an amended pleading, motion, order or other
         paper from which it may first be ascertained that the case is one which is or
         has become removable. 21




17 R. Doc. 8.
18 Howery v. Allstate Ins. Co., 243 F.3d 912, 916 (5th Cir. 2001).
19 28 U.S.C. § 1441(a).
20 See Manguno v. Prudential Property and Cas. Ins. Co., 276 F.3d 720, 723 (5th Cir. 2002).
21 28 U.S.C. §§ 1446(b)(1), (3).



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                                           ANALYSIS

           In the instant motion, Plaintiff argues that, because Portuondo knew of her

$100,000 settlement demand and her medical expenses prior to the filing of her suit, the

filing of the state court petition was enough to make it apparent the case was removable.

In Chapman v. Powermatic, Inc., the Fifth Circuit addressed the issue of whether a

settlement demand and medical bills provided to a defendant prior to the filing of suit can

serve as an “other paper” that makes it ascertainable a case is removable. 22 The Fifth

Circuit explained:

           § 1446(b) requires that the defendant remove the case, if at all, within 30
           days after receipt of an “other paper” from which the defendant may first
           ascertain that the case is removable. Logic dictates that a defendant can
           “first” ascertain whether a case is removable from an “other paper” only
           after receipt of both the initial pleading and that “other paper”; and
           therefore the thirty-day time period begins to run, not from the receipt of
           the initial pleading, but rather from the receipt of the “other paper”
           revealing that the case is removable. . . . By its plain terms the statute
           requires that if an “other paper” is to trigger the thirty-day time period of
           the second paragraph of § 1446(b), the defendant must receive the “other
           paper” only after it receives the initial pleading. 23

As a result, the Court does not consider the receipt of the settlement demand of August 8,

2018 or any other knowledge Portuondo may have had prior to the filing of the instant

suit on September 6, 2018.

           Plaintiff argues it is facially apparent from her petition that the amount in

controversy exceeds $75,000, based on the damages she seeks. 24 She also argues that,

because the state court petition names her insurer GEICO as a Defendant “liable for all

damages caused to Ms. Grace that exceed the coverage limits of Mr. Portuondo’s




22 969 F.2d 160, 164 (5th Cir. 1992).
23 Id.
24 R. Doc. 7-2 at 6.



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automobile liability insurance coverage,” 25 and Portuondo knew the coverage limit of his

policy was $100,000, he could “infer from the face of the petition” that the amount-in-

controversy requirement was met. 26 As a result, Plaintiff argues the thirty-day time period

for Portuondo to remove the case began on September 14, 2018, the date Portuondo was

served.

         In Chapman, the Fifth Circuit adopted a “bright line rule requiring the plaintiff, if

he wishes the thirty-day time period to run from the defendant’s receipt of the initial

pleading, to place in the initial pleading a specific allegation that damages are in excess of

the federal jurisdictional amount.” 27 In this case, the state court petition contains no

allegation that damages are in excess of $75,000. 28 Applying Chapman’s bright line rule

to this case, the Court finds the thirty-day time period for removal did not begin on the

date Portuondo was served.

         The Court turns to whether the Notice of Removal was timely because it was filed

within 30 days of Portuondo’s receipt of an “other paper from which it [could] first be

ascertained” the case was removable under § 1446(b). 29 In the Notice of Removal,

Portuondo argues the “first paper” he received alleging the amount-in-controversy

exceeded $75,000 was Plaintiff’s response, on December 6, 2018, to his request for

admission. 30 Plaintiff does not argue that any other filing or paper Portuondo received

after he was served on September 14, 2018 and before December 6, 2018 could serve as

the “other paper.” A plaintiff’s denial of a request for admission that her claim does not

25 R. Doc. 1-2 at 1, ¶ 4.
26 R. Doc. 7-2 at 8–9.
27 969 F.2d at 163.
28 Louisiana law does not permit a plaintiff to allege a specific monetary amount of damages, but a plaintiff

may include a “general allegation that the claim exceeds or is less than the requisite amount” for
jurisdictional purposes. LA. CODE CIV. PROC. art. 893.
29 28 U.S.C. §§ 1446(b)(3).
30 R. Doc. 1 at 5, ¶ 15.



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exceed $75,000 in value may be used as evidence that a case is removable. 31 Plaintiff’s

denial of Portuondo’s request for admission was a paper from which it could be

ascertained the case was removable. Because Portuondo removed this case on January 4,

2019, less than thirty days after he received the “other paper” on December 6, 2018, his

removal of this case was timely.

                                           CONCLUSION

        For the foregoing reasons, IT IS ORDERED that Plaintiff Victoria Grace’s motion

to remand be and hereby is DENIED. 32

        New Orleans, Louisiana, this 11th day of March, 2019.


                                                 ________________________________
                                                          SUSIE MORGAN
                                                   UNITED STATES DISTRICT JUDGE




31 See, e.g., Cook v. Wabash Nat. Trailer Centers, Inc., No. CIV.A. 03-0955, 2003 WL 21488125, at *2 (E.D.

La. June 20, 2003) (Porteous, J.).
32 R. Doc. 7.



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